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                  IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF KANSAS

                                                )
UNITED STATE OF AMERICA,                        )
                                                )
                    Plaintiff,                  )
                                                )
             v.                                 )        Case No. 07-20007
                                                )
AARON HARRIS,                                   )
                                                )
                    Defendant.                  )
                                                )



                         MEMORANDUM AND ORDER

      Aaron Harris is currently serving a 151-month prison sentence. His case is

before the court on his motion to reduce his sentence (Doc. 114). For the reasons

discussed below, this motion is denied.



                                  BACKGROUND

      In 2007, Mr. Harris pleaded guilty to conspiracy to distribute or possess with

the intent to distribute more than fifty grams of cocaine base. The Presentence

Investigation Report (PSR) filed with the court attributed to Mr. Harris more than 1.5

kilograms of cocaine base. Thus, according to the PSR, his base offense level was

36. Mr. Harris, however, objected to the amount of drugs included as relevant

conduct. The court sustained his objection, applied a two-level enhancement for his
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aggravated role in the offense, and reduced his offense level for acceptance of

responsibility. Mr. Harris had a total offense level of 35.

       To determine Mr. Harris’s criminal history category, the PSR assessed points

for two prior convictions, including a misdemeanor conviction for possession of

marijuana, for which Mr. Harris paid a fine of $200, and a felony conviction for

possession of a controlled drug, for which Mr. Harris was sentenced to two years

deferred, and a fine and costs of $1760.50. The PSR also identified nine other

criminal and traffic convictions that were not assessed any points. These prior

convictions placed Mr. Harris in criminal history category II. Mr. Harris did not

object to this calculation.

       On May 2, 2008, Mr. Harris was sentenced to 151 months in prison followed

by five years of supervised release. He now argues that his criminal history category

points were calculated improperly.



                                     DISCUSSION

       Mr. Harris requests that this court reduce his sentence and correct his criminal

history points based on Amendment 709 to the sentencing guidelines, which took

effect on November 1, 2007, before he was sentenced. The relevant provision of

Amendment 709 changed the wording of § 4A1.2(c) of the sentencing guidelines.

Section 4A1.2 provides definitions and instructions for calculating criminal history



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points. It provides that all prior felony offenses are counted toward a defendant’s

criminal history category. U.S.S.G. § 4A1.2(c). Additionally,

        [s]entences for misdemeanor and petty offenses are counted, except as follows:
        (1) Sentences for the following prior offenses and offenses similar to them . . .
        are counted only if . . . the sentence was a term of probation of more than one
        year or a term of imprisonment of at least thirty days . . . .

Id. (emphasis added). Amendment 709 inserted the bold language above and deleted

the previous wording that said “term of probation of at least one year.” U.S.S.G. app.

C Supp. Amend. 709 (emphasis added). Mr. Harris argues that under § 4A1.2(c) as

amended, he should not have received any criminal history points for the

misdemeanor possession of marijuana conviction.

I.      Waiver

        Mr. Harris’s plea agreement included a waiver of appeal or collateral attack.

Specifically, Mr. Harris

        waives any right to challenge his conviction and/or sentence or otherwise
        attempt to modify or change his sentence or the manner which the sentence
        was determined in any collateral attack, including, but not limited to, a motion
        brought under [28 U.S.C. § 2255], a motion brought under [18 U.S.C.
        § 3582(c)(2),] and a motion brought under Fed. Rule of Civ. Pro 60(b).

Mr. Harris’s motion provides no reason why that waiver should not now be enforced.

See, e.g., United States v. Cockerham, 237 F.3d 1179, 1181-82 (10th Cir. 2001)

(concluding that a waiver of the right to appeal and to collaterally attack a judgment

or sentence are valid and enforceable).




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II.    Merits

       Even assuming this court were willing to allow Mr. Harris’s motion to reduce

his sentence, he would not be successful. The plain language of § 4A1.2(c)(1) makes

it clear that his current challenges to the calculation of his criminal history points are

meritless.

       As noted, § 4A1.2(c) excludes from the calculation a specified list of offenses

depending on the precise sentence the defendant received. Mr. Harris argues that the

conviction for misdemeanor marijuana possession, for which he paid a $200 fine,

should not have been counted.

       The general rule of § 4A1.2(c) is that convictions for misdemeanor and petty

offenses are counted for purposes of calculating a defendant’s criminal history

category. Section 4A1.2(c)(1) provides an exception: the specific offenses listed in

§ 4A1.2(c)(1) and offenses similar to them are only counted if, as relevant here, the

sentence was a term of probation for more than one year. The offenses listed include:

careless or reckless driving, contempt of court, disorderly conduct or disturbing the

peace, driving without a license or with a revoked or suspended license, false

information to a police officer, gambling, hindering or failure to obey a police officer,

insufficient funds check, leaving the scene of an accident, non-support, prostitution,

resisting arrest, and trespassing. § 4A.12(c)(1).

       The prior conviction Mr. Harris is challenging is not any one of these offenses.

As such, it was properly counted toward his criminal history category.

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IT IS THEREFORE ORDERED BY THE COURT that defendant’s motion for

reduction of sentence (Doc. 114) is denied.



      IT IS SO ORDERED this 6th day of February, 2009.



                                  s/ John W. Lungstrum
                                  John W. Lungstrum
                                  United States District Judge




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